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 7                              UNITED STATES DISTRICT COURT
 8
                             NORTHERN DISTRICT OF CALIFORNIA
 9
     THERESA BROOKE, a married woman
10
     dealing with her sole and separate claim,      Case No:
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                             Plaintiff,             VERIFIED COMPLAINT
12   vs.
13                                                  (JURY TRIAL DEMANDED)
     WCH NAPA LLC, a Delaware limited
14   liability company dba River Terrace Inn, a
     Noble House Hotel,
15
16                           Defendant.
17            Plaintiff Theresa Marie Brooke alleges:
18                                           PARTIES
19            1.    Plaintiff Theresa Brooke is a married woman. Plaintiff is legally disabled,
20   and is therefore a member of a protected class under the ADA, 42 U.S.C. § 12102(2),
21   the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., the
22   California Unruh Civil Rights Act. Plaintiff ambulates with the aid of a wheelchair due
23   to the loss of a leg.
24            2.    Defendant, WCH Napa LLC, owns and/or operates and does business as
25   the hotel River Terrace Inn, a Noble House Hotel located at 1600 Soscol Avenue in
26   Napa, California. Defendant’s hotel is a public accommodation pursuant to 42 U.S.C. §
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 1   12181(7)(A), which offers public lodging services. On information and belief,
 2   Defendant’s hotel was renovated after March 15, 2012.
 3                               SUMMARY OF ALLEGATIONS
 4          3.     Plaintiff Theresa Brooke brings this action against Defendant, alleging
 5   violations of Title III of the Americans with Disabilities Act, 42 U.S.C. §§ 12101 et
 6   seq., (the “ADA”) and its implementing regulations and the California Unruh Civil
 7   Rights Act (“Unruh”), California Civil Code §§51, 52. Specifically, Plaintiff brings this
 8   action because Defendant’s hotel does not comply with Section 503 of the 2010
 9   Standards of Accessible Design; Defendant does not have an access aisle at the hotel
10   passenger loading zone that is compliant with Section 503.
11                                         JURISDICTION
12          4.     Jurisdiction in this Court is proper pursuant to 28 U.S.C. §§ 1331 and 42
13   U.S.C. § 12188.
14          5.     The Court has supplemental jurisdiction over the state law claim. 28
15   U.S.C. § 1367.
16          6.     Plaintiff’s claims asserted herein arose in this judicial district and
17   Defendant does substantial business in this judicial district.
18          7.     Venue in this judicial district is proper under 28 U.S.C. § 1391(b) and (c)
19   in that this is the judicial district in which a substantial part of the acts and omissions
20   giving rise to the claims occurred.
21                                         ALLEGATIONS
22          8.     Plaintiff formerly worked in the hospitality industry and her husband
23   works in the travel industry. She and her husband are avid travelers to California for
24   purposes of leisure travel, court-related hearings, conferences and inspections, and to
25   “test” whether various hotels across the Country comply with disability access laws.
26   She has been to California countless times over the past few years for purposes of
27   checking ADA compliance, leisure travel, and court-related conferences.
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 1          9.      On or about July 18 through July 20, Plaintiff and her husband visited
 2   north of San Francisco for a trip and to engage in ADA testing at various hotels and to
 3   enjoy the nicer summer weather than Arizona.
 4          10.     During Plaintiff’s trip, she visited Defendant’s hotel and stopped at
 5   Defendant’s passenger loading zone directly in front of the lobby. The passenger
 6   loading zone is the area directly in front of the lobby that persons generally park for a
 7   short period while checking in or loading luggage.
 8          11.     Plaintiff could not access Defendant’s lobby because the passenger
 9   loading zone did not have an access aisle that complies with Section 503 of the
10   Standards. An access aisle is necessary to mark where other cars should not park,
11   thereby creating a clear path to the lobby from the passenger loading zone for a person
12   in a wheelchair.
13          12.     The purpose of the access aisle is to mark a clear path for a person in a
14   wheelchair to access the lobby from the passenger loading zone for disabled people in a
15   wheelchair like Plaintiff. That is how this particular barrier relates to Plaintiff’s
16   particular disability.
17          13.     An illustration of a correct access aisle is provided below, which is taken
18   directly from the 2010 Standards and which was not provided by Defendant:
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 1          14.      Deterred at the lack of equality and inability to even access the lobby
 2   from the passenger loading zone, Plaintiff did not book a room.
 3          15.      Standing in an ADA case is demonstrated in one of two ways. First, an
 4   ADA plaintiff can demonstrate standing via deterrence. Second, an ADA plaintiff can
 5   demonstrate standing via injury in fact coupled with an intent to return to the PPA at
 6   issue. Both are demonstrated here.
 7          16.      Plaintiff is deterred from visiting Defendant’s hotel in the future until and
 8   unless Defendant remedies the barrier referenced above. Plaintiff will not visit
 9   Defendant’s hotel in the future until it provides free and equal access to the entirety of
10   its property.
11          17.      Plaintiff also intends on visiting the north of San Francisco again later this
12   summer for leisure and further ADA testing and will visit Defendant’s hotel if it
13   remediates the barrier at issue. If remediation occurs, Plaintiff can then gain equal
14   access as able-bodied consumers. Plaintiff may also have to return to the hotel and the
15   north of San Francisco for purposes of joint site inspections, ENEs or other court-
16   related conferences and hearings. When she visits again, she will only visit the hotel at
17   issue if Defendant has provided proof of remediation.
18          18.      It is impossible for Plaintiff to re-encounter the injury at bar. Either
19   Defendant remediates thereby allowing Plaintiff equal access, or Defendant refuses to
20   remediate thereby deterring Plaintiff from visiting again.
21          19.      It is readily achievable to modify the hotel to provide an access aisle.
22   Providing an access aisle is extremely inexpensive.
23          20.      Without injunctive relief, Plaintiff and others will continue to be unable to
24   independently use Defendant’s hotel in violation of her rights under the ADA.
25          21.      Other potential violations and barriers to entry at Defendant’s hotel may
26   be discovered during this litigation. It is Plaintiff’s intention to cure all ADA violations
27   at this hotel in one lawsuit, and so she will amend this Complaint pursuant to Doran if
28   additional ADA violations are discovered during the case.


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 1                                 FIRST CAUSE OF ACTION
 2      22. Plaintiff incorporates all allegations heretofore set forth.
 3          23.    Defendant has discriminated against Plaintiff and others in that it has
 4   failed to make its public lodging services fully accessible to, and independently usable
 5   by, individuals who are disabled in violation of 42 U.S.C. § 12182(a) and §
 6   121282(b)(2)(iv) and the 2010 Standards, as described above.
 7          24.    Defendant has discriminated against Plaintiff in that it has failed to
 8   remove architectural barriers to make its lodging services fully accessible to, and
 9   independently usable by individuals who are disabled in violation of 42 U.S.C.
10   §12182(b)(A)(iv) and the 2010 Standards, as described above. Compliance with the
11   2010 Standards would neither fundamentally alter the nature of Defendant’s lodging
12   services nor result in an undue burden to Defendant.
13          25.    In violation of the 2010 Standards, Defendant’s hotel passenger loading
14   zone does not have a disability access aisle as required by Section 503 of the Standards.
15          26.    Compliance with 42 U.S.C. § 12182(b)(2)(A)(iv) and the 2010 Standards,
16   as described above, is readily achievable by the Defendant. Id. Readily achievable
17   means that providing access is easily accomplishable without significant difficulty or
18   expense.
19          27.    Defendant’s conduct is ongoing, and, given that Defendant has never fully
20   complied with the ADA’s requirements that public accommodations make lodging
21   services fully accessible to, and independently usable by, disabled individuals, Plaintiff
22   invokes her statutory right to declaratory and injunctive relief, as well as costs and
23   attorneys’ fees.
24          28.    Without the requested injunctive relief, specifically including the request
25   that the Court retain jurisdiction of this matter for a period to be determined after the
26   Defendant certifies that it is fully in compliance with the mandatory requirements of the
27   ADA that are discussed above, Defendant’s non-compliance with the ADA’s
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 1   requirements that its passenger loading zone be fully accessible to, and independently
 2   useable by, disabled people is likely to recur.
 3          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
 4                a. A Declaratory Judgment that at the commencement of this action
 5                   Defendant was in violation of the specific requirements of Title III of the
 6                   ADA described above, and the relevant implementing regulations of the
 7                   ADA, in that Defendant took no action that was reasonably calculated to
 8                   ensure that all of its passenger loading zone is fully accessible to, and
 9                   independently usable by, disabled individuals;
10                b. Permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
11                   36.504(a) which directs Defendant to take all steps necessary to bring its
12                   passenger loading zone into full compliance with the ADA;
13                c. Payment of costs and attorney’s fees;
14                d. The provision of whatever other relief the Court deems just, equitable and
15                   appropriate.
16                                  SECOND CAUSE OF ACTION
17          29.      Plaintiff realleges all allegations heretofore set forth.
18          30.      Defendant has violated the Unruh by denying Plaintiff equal access to its
19   public accommodation on the basis of her disability as outlined above.
20          31.      Unruh provides for declaratory and monetary relief to “aggrieved
21   persons” who suffer from discrimination on the basis of their disability.
22          32.      Plaintiff has been damaged by the Defendant’s non-compliance with
23   Unruh.
24          33.      Pursuant to Cal Civ. Code §52, Plaintiff is further entitled to such other
25   relief as the Court considers appropriate, including monetary damages in an amount of
26   $4,000.00, and not more.
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 1          34.      Pursuant to Unruh, Plaintiff is entitled to attorney’s fees and costs in an
 2   amount to be proven at trial.
 3          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
 4                a. A Declaratory Judgment that at the commencement of this action
 5                   Defendant was in violation of the specific requirements of Unruh; and
 6                b. Permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
 7                   36.504(a) which directs Defendant to take all steps necessary to bring its
 8                   passenger loading zone into full compliance with the ADA;
 9                c. Payment of costs and attorney’s fees;
10                d. For damages in the amount of $4,000.00, the statutory minimum, and not
11                   more; and
12                e. The provision of whatever other relief the Court deems just, equitable and
13                   appropriate.
14                                  DEMAND FOR JURY TRIAL
15          Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby
16   demands a jury trial on issues triable by a jury.
17          RESPECTFULLY SUBMITTED this 27th day of July, 2020.
18                                              /s/ P. Kristofer Strojnik
19                                              P. Kristofer Strojnik (242728)
                                                Attorneys for Plaintiff
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21                                        VERIFICATION

22          I declare under penalty of perjury that the foregoing is true and correct.
23                          DATED this 24th day of July, 2020.
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28          Theresa Marie Brooke


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